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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             v.                           ) CAUSE NO. 3:09-CR-00013 RM
                                          )
 ISAAC GUZMAN (04)                        )


                                      ORDER

        No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on April 15, 2009. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 50], ACCEPTS

 defendant Isaac Guzman’s plea of guilty, and FINDS the defendant guilty of Count

 3 of the Indictment, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b) and 18 U.S.C.

 § 2.

        SO ORDERED.

        ENTERED:      May 5, 2009



                                  /s/ Robert L. Miller, Jr.
                                 Chief Judge
                                 United States District Court
